      Case 1:21-cv-02675-JPO-BCM Document 22 Filed 11/11/21 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   X

EDWARD ADAMS,

                                     Plaintiff,

                  -against-

RIVERBAY CORPORATION, CO-OP                            Civ. No.: 21 Civ. 2675
CITY DEPARTMENT OF PUBLIC
SAFETY,   OFFICER   CHARLES
THOMAS, OFFICER JOEL LUGO,
OFFICER AHMED,
                   Defendants.
                                                   X



                              FED. R. CIV. P. 7.1 CERTIFICATION

              Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable Judges

and Magistrates of the Court to evaluate possible disqualifications or recusal, the undersigned

attorneys of record for Defendants Riverbay Corporation, Co-Op City Department of Public

Safety, Charles Thomas, and Joel Lugo certify that Riverbay Corporation is not publicly traded

and does not have a publicly traded parent corporation.


                                                    Respectfully submitted,

                                                    JACKSON LEWIS P.C.
                                                    44 South Broadway, 14th Floor
                                                    White Plains, New York 10601
                                                    (914) 872-8060




                                             By:
                                                    Joseph A. Saccomano, Jr.
                                                    Delonie A. Plummer
Dated: November 11, 2021                            Attorneys For Defendants Riverbay
White Plains, New York                               Corporation, Co-Op City Department of
                                                    Public Safety, Joel Lugo and Charles
                                                    Thomas
      Case 1:21-cv-02675-JPO-BCM Document 22 Filed 11/11/21 Page 2 of 2



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OFFICER AHMED,
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                                                  X



                               CERTIFICATE OF SERVICE

              This is to certify that a true and correct copy of the foregoing Fed. R. Civ. P. 7.1

Certification has been filed via ECF and served via U.S. Regular Mail, on the 11th day of

November, 2021 on Pro Se Plaintiff at the address below:

                                      Edward P. Adams
                                    140 Alcott Place, #10D
                                      Bronx, NY 10475
                                       (646) 960-6977
                                       Pro Se Plaintiff



                                                           /s/ Michelle Provost
                                                             Michelle Provost
